Case 8-18-72971-ast

Sceven K. Eisenberg ~"*
Thomas E. Shca \
Jacq\leline F. .VlcNall_v "“"
Da\'id M. Lambropuulos “‘
Margz\rct Cascino *"

M. Troy Freedman \

l-Lvan Barcnbaum \*

Scaccy A. Wcisblatl *“
Sal\’atorc C`urollo "*
/\ndrcw .|. Marlcy “"
Rolimd Gcorgc:r "

Lucus M. Andcrson X*
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lustix\ M. Straus.scr ‘*
lidward J. McKee ‘*
(_`hriswpher M. C;\mporcaic *
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Srevcn l’. Kclly **

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Fr:mk J. chnan \*
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Chris!opher Saliba *`
Anthony P. Scali *'

Todd R. Bu|lch "

Paul S IIunu`nglon "*
Dzmicl Joncs “

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Oliver Ayon *

Richard F. Stcm +‘

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July ()(). 2018

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Michael Sheenu
Radow Law Group

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REPLY TO W'ARRINGT()I\'

THIS COM.\'!L?§\'IC.»\TION lS FR(')M A D[-`.BT C(')LLECT()R. AZ\`Y INF()RMATI()N

OBTAl.\iED WILL BE USED FOR THAT PURPOSE

 

CaS€ 8-18-72971-&8'[ DOC 23-2 Filed 08/06/18 Entered 08/06/18 13224223

Wc represent the plaintiff in connection Witl\ thc ;tbo\.'c rcl`erenccd loan. The loan is currently being serviced by,
RUSHMORE LOAN MANAGEMENT SER\'[CES, LLC. Thc mortgage loan is in active foreclosure and
due for Februar_v 01, 2012 payment Payol`l` figures in this lcttcr arc good through July 25, 20]8, except
attorneys’ fees and costs which continue to accrne. When remitting pa_\_'ment, you will need to call our
office for the exact amount of attorneys’ fees and costs that are required to be paid, as the foreclosure
action will continue and a Sale date may have been schedulcd. The amount that you owe. including legal fees
and costs, may increase between thc date ol`this lcttcr and the date on which you submit thc funds to pay ol`l`ihc
loan as the foreclosure process continues and additional amounts for insurance. taxes and other advances may
become due during this timc. 'l`hc total amount due is $156.424.90 set forth as follows:

 

PRlNClPAL BALA.\lCE 591.876.80
INTEREST T() 7/25/2018 820,740.55
ESCROW` ADVANCE 531,914.73
TO'I`AL-FEES 3587.50
ACUMMALATF.D l.ATl-`. CH.~\ RGES 8722.38
RECOVERABLE BALANCIZ 89,391.49
ATTORNEY FEES AND C()S'I`S Sl,lQl.-l§
BREAKDOVVN OF RECOVERABLE BALA.\`CL':
Acqutred Corp Ad\.' $6,1?1.-"§
890 3115.0<:~
¥orec.losure Cost 3261.04
Foreciosure Fee $2,¢525.00
Proper'ty lnspection 5219.00

'l`his Payoi`l` Quotc will change as payments become duc. In addition. late charges as well as other account l`ccs_
shall continue to accruc.

 

Pleasc notc. your request l`or a payot`i`quote docs not stop the foreclosure proceedings front continuing Thc
issuance ol` this payoii` letter does not stop thc t`orcclosurc actiou. thc payment oi`ta.xcs, insurancc. or other
miscellaneous expenses relating to your mortgage loztn. which may become due and owing in addition to the
amounts listed above. As the mortgage loan is in active toreclosurc. the foreclosure t`ces and costs listed above
may bc estimated and may continue to change as thc proceedings continuc.

Piease contact our office to confirm the exact figures doc prior to submitting the funds to na\'nfl’the loan.

Payot`f funds must bc certit'tcd. Acccptablc t`onns of payment arc C`ashicr`s Chccks or Moncy Orders. Your loan
number should appear on your payment Pleasc make thc check payable RUSI{.\-l()RE L()Al\'
:'\'l.-\NAGEMENT SF.RVI(.`F.S. I.I.C and mail directly 10;

RL`SHM()RE LOA.\‘ l\lANAGEl\'lE.\"l` SERV|CES
15480 Languna Canyon Suite #lOil

lrvine. CA 926]8

Attn: Default Management

THIS C()MML?=.\`[CAT}ON IS FROM A DEBT C()LLE.CTOR. Al\'Y lNF()RMATIO.\l
OBTAlNED WlLL BE USED FOR THAT PURPOSE

 

 

